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 6
 7                    IN THE UNITED STATES DISTRICT COURT
 8                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9   UNITED STATES OF AMERICA,          ) Cr. No. 07-170;
                                        ) Cr. No. 07-289;
10           Plaintiff,                 ) Cr. No. 07-428
                                        )
11      v.                              ) STIPULATION AND ORDER
                                        ) CONTINUING STATUS
12   JUAN CAMACHO, et al                ) CONFERENCE; VACATING TRIAL
                                        ) AND EXCLUDING TIME UNDER THE
13                                      ) SPEEDY TRIAL ACT
             Defendant,                 ) (April 6, 2010 at 9:15 AM
14   ___________________________________) before Judge Karlton)
15
16          A status conference is now set for April 6 , 2010 with trial
17   set for April 13, 2010.     The Government has recently made a revised
18   plea offer in the case.
19   The Defendant is housed at the Butte County Jail in Oroville CA.
20   In order to resolve the case, Defendant, his counsel and an
21   interpreter must consider this offer.        For that reason, the parties
22   request the following stipulation be approved.
23        IT IS STIPULATED between the plaintiff, United States of
24   America and the Defendant, by and through their counsel, that the
25   status conference be continued to May 4, 2010 at 9:15 AM and the
26   presently set trial date of April 13, 2010 be vacated.
27        It is further stipulated that time from the date of this
28                                         1
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 1   stipulation through May 4, 2010 shall be excluded from the time
 2   when trial must be commenced under the Speedy Trial Act because
 3   the case is so unusual or complex within the meaning of the Speedy
 4   Trial Act, and for defense preparation.        The parties stipulate that
 5   these are appropriate exclusions within the meaning of Title 18,
 6   U.S. Code Section 3161 (h) (7) (A) and (B) (ii) and (iv), and Local
 7 Codes T2 and T4.
 8 Dated April 3, 2010
 9     s/s CAROLYN DELANEY                        s/s J TONEY
       Carolyn Delaney                             J Toney
10 First Assistant U.S. Attorney                Attorney for Defendant
11                                 ORDER
12       Based on the stipulation of the parties and good cause
13 appearing, the Court adopts the above stipulation in its entirety
14 as its order.     The Court further finds for the reasons given that
15 failure to allow this continuance would deny counsel time for
16 effective preparation and that the ends of justice outweigh the
17 interest of the public and defendants in a speed trial. SO ORDERED.
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     DATED: April 5, 2010
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